Case 2:05-cr-20202-.]PI\/| Document 21 Filed 08/02/05 Page 1 of 2 Page|D 50,

 

IN THE UNITED sTATEs DISTRICT coURT F“'ED m "“"‘D’c'
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEs'rERN DIvIsION 05 AUG "2 PH 3* 39
“{HDSLH.GUJD
CLEU USF}~L FTCUM
WM we MPHFS

UNITED STATES OF AMERICA

Plaintiff,

cP.. NO. 05-20202-M1 & /
05-20203-M1 '

VS.

~_/

BAR.R.Y MYERS

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came to be heard on August l, 2005, the United States
Attorney for this district, Tim DiScenza, appearing for the Government and
the defendant, Barry Myers, appearing in person and with counsel, Leslie
Ballin, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered pleas of guilty as to Count 1 of Indictment
05-20202 and as to Count l of Indictment 05-20203.

Plea colloquy was held and the Court accepted the guilty pleas.

SENTENCING in these cases is SET for FRIDAY. FEBRUARY 17, 2006, at
4:00 p.m., in Courtroom No. 4, on the 9th floor before Judge Jon Phipps
McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the sz_ day cf August, 2005.

meal

J N PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

Thle document entered on the docket sheet in compliance
with Rule 55 andfor 32(b) FF\CrP on

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UNITED sTATE DRISTIC COURT - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20202 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

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Honorable J on McCalla
US DISTRICT COURT

